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                        r[/iis Certifies tfiat

                         (}?J)ger (Jwots
                         ofLivingston, :Jvtrr'

      is anj/_ttorney and Counse[or of tfie Supreme Court of
tfie State of <J(liode Js[and, and as sucfi was on tfie 3rd day
ofJune, 2003 admitted to practice in a[[ tfie courts of said
state as appears of record in tfie Office of tfie C[erf(of tfie
  Supreme Court and is in good standing and qua[ified to
                     practice in said courts.


      (liven under our hancfs ancf tfie sea{ of saicfSupreme Court at
                    <Providence this the 9th c[ay of November, 2022.
